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                                                                           FILED: March 27, 2025

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                                  No. 25-1273
                                             (8:25-cv-00462-TDC)


        J. DOES 1-26

                      Plaintiff - Appellee

        v.

        ELON MUSK, in his official capacity; UNITED STATES DOGE SERVICE;
        DEPARTMENT OF GOVERNMENT EFFICIENCY

                      Defendants - Appellants



                                                 ORDER


               On the defendants’ motion for an administrative stay, the court orders that the

        district court’s preliminary injunction dated March 18, 2025, as clarified by its order dated

        March 20, 2025, be stayed and hereby is stayed until the close of business on Friday, March

        28, 2025.

                                                                        For the Court

                                                                         /s/ Nwamaka Anowi, Clerk
